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Coverage of         The fake ‘your   Mayim Bialik          Florida nurse       Arizona family   Disturbing video
Gabby Petito        hood’ PC         shares ‘terrible’     fired for posting   missing after    shows Mexican
case leads to…      outrage might…   reason why sh…        photos of…          vanishing on…    cartel lining up…




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 OPINION




Labor arbitration head is a de Blasio fundraiser
By Post Editorial Board
December 25, 2013     6:50pm




Martin Scheinman in 2005, de Blasio in NYC December 23rd
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Luiz C. Ribeiro, Theodore Parisienne
                                                                                                            LOG IN
No wonder unions aren’t worried about upcoming contract negotiations.
Coverage of               The fake ‘your   Mayim Bialik      Florida nurse        Arizona family      Disturbing video
As  Capital
 Gabby  Petito New York   reported this
                   hood’ PC             week,
                                     shares        Martin fired
                                            ‘terrible’    Scheinman
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negotiations between the city and both the New York State Nurses Association and the
 case leads to…    outrage might…    reason why sh…       photos of…             vanishing on…       cartel lining up…

United Federation of Teachers. In this capacity, he will head a three-person panel that will
help determine whether nurses and teachers deserve a 4 percent raise. How that panel
decides will be important not just for nurses and teachers, but for the precedent it sets at a
time when many other contracts with city workers are up for negotiation.

What complicates this is that Scheinman was also a fund-raiser for Bill de Blasio.
Scheinman, who has a good reputation as an arbitrator, claims there’s no conflict between
serving on the arbitration panel and being a financial supporter of the incoming mayor, in
part because he was named to the panel long before de Blasio even ran.

Sorry, but we don’t buy it.

Appearances mean something. Even in the best of circumstances, the arbitration process
has shown a built-in bias toward unions: Panels often allow wage increases whether or not
the state or a given municipality can afford it. How can people really be confident in
Scheinman’s independence when he backed a candidate who had the support of health-
care workers in the primary and the teachers in the general?

At some point, as de Blasio’s candidacy picked up steam, Scheinman should have
recognized the coming conflict of interest for what it was. Having a fund-raiser for a labor-
friendly mayor run an arbitration panel just doesn’t pass the smell test.


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